Case 2:22-cv-12875-BAF-APP ECF No. 12, PageID.291 Filed 02/14/23 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


VARILEASE FINANCE, INC., and
VFI KR SPE I LLC,

            Plaintiffs,                     Civil Action No. 22-cv-12875
                                            HON. BERNARD A. FRIEDMAN

vs.

INTERCONTINENTAL CAPITAL
GROUP, INC., and DUSTIN A. DIMISA,

            Defendants.
                                     /

 ORDER GRANTING IN PART PLAINTIFFS’ VERIFIED MOTION FOR
       POSSESSION OF EQUIPMENT AND COLLATERAL

      This matter is before the Court on a verified motion for possession of

equipment and collateral filed by plaintiffs Varilease Finance, Inc. and VFI KR

SPE I LLC (ECF No. 11). It is, hereby,



      ORDERED that the motion is granted in so far as the Court shall set a

hearing on the motion for Tuesday, February 21, 2023, at 10:00 AM. The

hearing shall occur before District Judge Bernard A. Friedman at the United States

District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard,

Room 110, Detroit, Michigan.
Case 2:22-cv-12875-BAF-APP ECF No. 12, PageID.292 Filed 02/14/23 Page 2 of 2




      IT IS FURTHER ORDERED that defendants Intercontinental Capital

Group, Inc. and Dustin Dimisa shall file a response to the motion by Friday,

February 17, 2023. Plaintiffs may file a reply in support of the motion by Monday,

February 20, 2023.



      IT IS FURTHER ORDERED that the motion is in all other respects denied

without prejudice at this time.



      IT IS SO ORDERED.
                                     s/Bernard A. Friedman
                                     Hon. Bernard A. Friedman
                                     Senior United States District Judge
Dated: February 14, 2023
       Detroit, Michigan




                                        2
